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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 KAFI, INC.                                      §
                                                 §
      Plaintiff,                                 §
                                                 §
 v.                                              §
                                                 §
 FEDERAL NATIONAL MORTGAGE                       §       CIVIL ACTION NO. 4:21-cv-01610
 ASSOCIATION and NEW                             §
 RESIDENTIAL MORTGAGE, LLC                       §
                                                 §
      Defendants.                                §

                             JOINT NOTICE OF SETTLEMENT

         COMES NOW Plaintiff, Kafi, Inc. (“Plaintiff”), and Defendants, Federal National

Mortgage Association (“Fannie Mae”), New Residential Mortgage, LLC (“NRM”), and NewRez

LLC dba Shellpoint Mortgage Servicing (“Shellpoint”) (all together the “Parties”), and present

this joint notice, and would show the Court:

      The Parties have settled this matter in its entirety and are in the process of drafting and

executing a final agreement. The court need not rule on Defendants’ pending motion for summary

judgment. Accordingly, the Parties request 45 days with which to finalize the settlement and file

final dismissal pleadings to be signed by the court.


                                                       Respectfully submitted,

                                                       JEFFREY JACKSON & ASSOCIATES, PLLC

                                                       /s/ Jeffrey C. Jackson
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing document
was served upon all counsel of record via Certified Mail, Return Receipt Requested, Facsimile
and/or the Court’s CM/ECF system on March 23, 2022.

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                                                     /s/ Jeffrey C. Jackson
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